                   UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION
                                  Civil Action No.
CHUBB NATIONAL INSURANCE
COMPANY and TRAVELERS PERSONAL
SECURITY INSURANCE COMPANY,

       Plaintiffs,
                                                                 COMPLAINT
DALE & MAXEY, INC. d/b/a DALE
INCORPORATED,

       Defendants.


       Plaintiffs, Chubb National Insurance Company and Travelers Personal Security Insurance

Company, by and through undersigned counsel, hereby sue defendant Dale & Maxey, Inc. d/b/a

Dale Incorporated, and allege as follows:

                                            PARTIES

       1.      Plaintiff, Chubb National Insurance Company, is and has been a corporation

organized and existing under the laws of the State of Indiana.

       2.      Plaintiff, Travelers Personal Security Insurance Company, is and has been a

corporation organized and existing under the laws of the State of Connecticut.

       3.      Defendant, Dale & Maxey, Inc. d/b/a Dale Incorporated (hereinafter “Dale”), is

and has been at all material times an active corporation organized and existing under the laws of

the State of Tennessee, with a principal place of business located at 915 6th Avenue South,

Nashville, Tennessee 37203, the registered agent for which is Albert J. Dale III, 915 6th Avenue

South, Nashville, TN 37203.




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                                        JURISDICTION

        4.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§1332, in that there is complete diversity of citizenship between the parties, and plaintiff’s

damages are in excess of $75,000.00, as the property damage giving rise to this action exceeds

$4,000,000.

                                             VENUE

        5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1), in that the

defendant’s principal place of business is in Davidson County, Tennessee, the case involves

property situated at 17 Oxmoor Court, Brentwood, Tennessee 37027 (Williamson County),

which is also where the events or omissions giving rise to this action occurred, and the Nashville

division of the Middle District of Tennessee includes Davidson County and Williamson County.

                                             FACTS

        6.     This case involves a fire of October 21, 2011 (hereinafter “the subject fire”) to the

home of George Thomas (Tom) Vogel and Denise Vogel (hereinafter “the Vogels”) at 17

Oxmoor Court, Brentwood, TN 37027 (hereinafter “the subject home”), originating from a

fireplace on the outdoor veranda of said home.

        7.     On a date prior to October 21, 2011, Plaintiff Chubb National Insurance Company

issued a policy of insurance to the Vogels providing property insurance coverage for the subject

home.

        8.     On a date prior to October 21, 2011, Plaintiff Travelers Personal Security

Insurance Company (hereinafter “Travelers”) issued a policy of insurance to Denise Vogel

providing property insurance coverage for her 2009 Mercedez Benz (hereinafter “the subject

vehicle”).



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         9.    The subject home was constructed in 2006.

         10.   The Vogels purchased the subject home October 15, 2010.

         11.   The subject home has several fireplaces, one of which was on the back veranda

(hereinafter “the subject fireplace”).

         12.   When the Vogels purchased the home, the subject fireplace was a gas-powered

fireplace, i.e., it was not used to burn real wood but operated using “gas logs.”

         13.   In November or December of 2010, the Vogels considered whether to convert the

subject fireplace from a gas log fireplace to a wood-burning fireplace.

         14.   In considering whether to convert the subject fireplace to a wood-burning

fireplace, the Vogels researched companies in the Nashville area with advertised or demonstrated

capabilities in the subject area and contacted Dale to come to the house and see if this could be

done.

         15.   Representatives of Dale came to the subject house in November or December

2010 and inspected the subject gas log installation and the design and construction of the subject

fireplace.

         16.   The Dale representatives advised that in order to convert the subject fireplace

from a gas log system to a wood-burning system, all that would be needed would be to remove

the artificial gas log system and replace it with a stainless steel gas burner pipe, also known as a

“gas starter” or “gas igniter,” but referred to herein as a burner pipe.

         17.   The burner pipe that Dale recommended would run along the bottom of the hearth

where the gas logs use to be and above that burner pipe would be a grate on which the owner

could place the wood for ignition.




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        18.    Dale advised that starting a fire using a burner pipe would involve no change to

starting a fire with a gas log system in that the owner would simply need to use the switch to the

side of the fireplace to release and ignite gas.

        19.    Once ignited, the burner pipe would have flames emanating from holes in the pipe

and those flames would ignite the wood sitting in the grate above it.

        20.    Upon recommendation from Dale, the Vogels hired Dale to do what was

necessary to make the conversion which the Vogels understood was to remove the gas logs and

replace the gas logs with the burner pipe and a grate to hold the wood.

        21.    The burner pipe installed by Dale ran horizontally from the right wall of the

firebox to the fireplace toward the left, when one is standing on the veranda looking at the

fireplace.

        22.    In converting the gas-log system to a wood burning system, Dale among its errors

failed to assure that the seams around the firebox -- where the metal frame of the firebox meets

the wood framing and where the burner pipe enters the firebox from the framed-in area -- were

properly sealed with fireplace sealant and failed to properly seal off the hole through which the

burner pipe passed to enter the firebox.

        23.    The Log Lighter Instructions state:

                                 LOG LIGHTER INSTALLATION
        Log lighter should be installed on the front of the grate in such a manner to
        minimize flame impingement, the amount of heat exposure and that logs placed
        on the grate will not rest directly on the log lighter tube. Also, the floor clearance
        should be sufficient to minimize the chance of the blockage of the burner ports by
        ash accumulation.
        ….
        4. The log lighter should be located such that the burner ports are facing inwards
        at 30-45 degrees, with the air shutter facing out towards the front. Adjust the air
        shutter to give sharp blue flames with yellow tips.



                                             Page 4 of 13

      Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 4 of 52 PageID #: 4
       24.     Dale failed to assure floor clearance sufficient to minimize the chance of the

blockage of the burner ports by ash accumulation.

       25.     Dale failed to locate the log lighter such that the burner ports are facing inwards at

30-45 degrees, with the air shutter facing out towards the front.

       26.     Dale positioned the burner pipe so that the flame holes were angled more

downward to the flooring of the hearth, rather than facing more upward toward the grate, so that

the flames emanating from the flame holes burned toward the flooring rather than burning

upward to the grate.

       27.     The flooring of the firebox hearth was made of metal, as this was a fireplace insert

rather than a masonry fireplace, a condition which Dale could see or should have seen for itself

when it performed the inspection and/or at the time of the installation of the burner pipe.

       28.     Dale aimed the ignitor gas flame holes downward instead of upward and thus

increased the heat level to the flooring under the firebox and thus increased the hazard of ignition

of wood surrounding the fireplace insert.

       29.     Dale failed to obtain, and/or review and/or follow the DESA instructions for the

DESA brand fireplace insert on safety precautions for the insert if it is to be wood burning

instead of gas burning.

       30.     Dale failed to assure that there was insulation around the gas line and in the sleeve

opening and failed to properly seal any gaps between gas line and refractory knockout hole with

refractory cement or commercial furnace cement.

       31.     Further, Dale also should have checked the seams around the firebox to see if they

were properly sealed and should have then properly sealed those seams to protect against heat

igniting the wood framing of the fireplace insert.



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       32.     Dale also failed to provide the Vogels with any instructions or warnings for future

use of the fireplace, including the failure to caution or warn the Vogels regarding the size of the

grate they should use in the firebox with the new burner pipe assembly.

       33.     Additionally, Dale did not secure a permit for the work being performed or have

an inspection performed by the proper agency to verify the quality and conformity of their work.

       34.     On the night of the fire, Tom Vogel started a log fire in the subject fireplace at

around 7:30 or 8:00 p.m.

       35.     At around 9:30 p.m., Mr. Vogel was in his bedroom, which has a fireplace

opposite from the veranda fireplace, when the flat screen TV above his bedroom fireplace

suddenly turned off.

       36.     The two fireplaces share a common area between them in which two separate

chimney cases run upward to the roof.

       37.     The subject fireplace, which is an outdoor fireplace, had been burning wood since

7:30 or 8:00 pm that night.

       38.     When the bedroom TV turned off, Mr. Vogel walked toward the wall where the

TV was mounted to investigate.

       39.     At first, he thought the cable had gone out, but as he got closer he could see that

the TV actually shut down.

       40.     While close to the wall, he could hear what sounded like a crackling sound behind

the bedroom fireplace wall.

       41.     Mr. Vogel placed his hand on the wall and found it was warm to the touch.

       42.     Mr. Vogel went through the door to the left of the bedroom fireplace to the

veranda and checked the outdoor fireplace.



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       43.     He noticed that the fire in the outdoor fireplace was low.

       44.     Mr. Vogel went back into his bedroom and could still hear crackling and feel

warmth, at which point he told his wife to call 911 and they took their children out of the house.

       45.     The fire spread rapidly through the house and, despite the best efforts of the

responding fire department, the house was severely damaged.

       46.     After the fire, a coordinated inspection of the subject home took place on

November 23, 2011, attended by undersigned counsel, John Reis, and the following: (1) Tom

Vogel, owner of Dale; (2) Tim Burgess, electrical engineer with Unified Investigations &

Sciences, Inc., , retained by      Chubb; (3) Jesse Hooten, fire investigator with Unified

Investigations & Sciences, retained by Chubb; (4) David Wright, P.E., of Wright Fire &

Forensics, retained by Chubb; (5) Jeff Morrill of Morrfire Investigations, representing Dale; (6)

Joe Wheeler, attorney for Dale; (7) Tom Carlton, attorney for Dale; (8) Patrick Murphy, fireplace

manager with Dale; (9) Jarred McNeal, National General Adjuster, Engel Martin & Associates,

Inc., retained by Builders Insurance, insurer for Williamson County Heating (which had installed

gas lights above the subject fireplace); (10) Herbert Allen Cole of Williamson County Heating;

(11) McKenzie Roberts, P.E., Engineering Consultant, Engineering Consultants & Design, Inc.,

McMinnville, TN 37110, for Williamson; (13) James A. Waller, P.E., Structural Engineer, VCE,

Inc., Nashville, TN 37202, for Williamson County Heating; (14) Charles A. Griffin of VCE, Inc.,

for Williamson County Heating; (15) Dewey N. Griffin of VCE, Investigative, Nashville, TN

37210 for Williamson County Heating; (16) Frank Thomas of Leitner Williams for Williamson

County Heating; (17) Joe Holt of Kustom Home Entertainment (which had installed cabling for

the TV in the Vogels’ bedroom); and (18) Nancy L. Jones, Fire Marshal, Brentwood Fire &

Rescue, Brentwood Fire Department, Brentwood, TN.



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       47.     At the November 23, 2011 scene inspection, all parties present had an opportunity

to interview Tom Vogel and they did so at length.

       48.     On December 2, 2011, a second coordinated scene inspection occurred, attended

by undersigned counsel John Reis and Tim Burgess, Jesse Hooten, David Wright, Todd Niner of

Wright Investigations, Jeff Morrill, Dewey Griffin, McKenzie Roberts, Charles Griffin, David

Wright, Todd Niner, Karen Niner, Frank Thomas, and Nancy Jones.

       49.     At the December 2, 2011 scene inspection, the subject fireplace was removed and

has been stored off site ever since, along with any other evidence from the scene that those in

attendance desired be removed and retained.

       50.     On April 10, 2012, an off-site inspection took place whereby all evidence

removed from the scene was carefully examined and subjected to such testing as the parties

desired, attended by Jesse Hooten, David Wright, Karen Niner, Jeff Morrill, Dewey Griffin,

McKenzie Roberts, and Frank Thomas.

       51.     The results of the above inspections and examinations revealed that the cause of

the fire was ignition of wood in the framing of the subject fireplace, which had overheated due to

the failures and omissions of Dale when they converted the fireplace from a gas log system to a

wood burning system.

       52.     The fire destroyed the subject home and the subject vehicle.

       53.     As a result of the fire, the Vogels made a property insurance claim with Chubb for

the damages to the house and its contents and the loss of use thereof.

       54.     As a result of the fire, Denise Vogel made a property insurance claim with

Traveler for the damages to the subject vehicle and its loss of use.




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        55.     Chubb paid the Vogels claim for the damages to the house, contents, and loss of

use of the home in the total amount of $4,956,965.36 and the Vogels incurred no deductible.

        56.     Travelers paid Denise Vogel $42,331.31 and received back salvage value of

$10,828.51, for a total claim of $31,502.49 for the damages to the subject vehicle in that amount;

Denise Vogel incurred a $250.00 deductible.

        57.     Having paid the Vogels for the above damages pursuant to the policy of

insurance, Chubb is subrogated to its insureds’ right to bring this action against those responsible

for the damages and proceeds with this action on the basis of the doctrine of conventional

subrogation.

        58.     Having paid Denise Vogel for the above damages pursuant to the policy of

insurance, Travelers is subrogated to its insured’s right to bring this action against those

responsible for the damages and proceeds with this action on the basis of the doctrine of

conventional subrogation.

                                          COUNT I
                                     BREACH OF CONTRACT
        59.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        60.     Dale and the Vogels exchanged offers until they entered into a valid and

enforceable oral and/or implied-in-fact contract pursuant to which Dale would use it professional

knowledge and skills to convert the subject fireplace from a gas log system to a wood burning

system.

        61.     Having contracted to perform the work described above, Defendant had an

implicit duty to perform in accordance with applicable codes, procedures, and industry standards,




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in a workmanlike manner, and/or in compliance with the terms of the contract and was fully

responsible for defective materials and/or workmanship it provided.

        62.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        63.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                           COUNT II
                                         NEGLIGENCE

        64.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        65.     Dale after being given an opportunity to inspect undertook for an agreed fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.

        66.     Having undertaken to perform the work described above, Defendant had an

implicit duty to perform said work in accordance with applicable codes, procedures, and industry

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standards and in a workmanlike manner and was responsible for defective materials and/or

workmanship it provided.

        67.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        68.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                  COUNT III
             BREACH OF IMPLIED WARRANTY OF WORKMANLIKE SERVICE

        69.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        70.     Dale represented itself as knowledgeable, experienced and capable of undertaking

to inspect and evaluate the fireplace conversion project and thereafter undertook for a fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.



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       71.     Having undertaken to perform the work described above, Dale impliedly

warranted that it would perform in a workmanlike manner and exercise reasonable care in

converting the fireplace system, such that the system would be free from defects and would be fit

for its intended purposes and in accordance with local building codes, building plans and

industry standards.

       72.     The defendant breached this warranty by failing to convert the fireplace system

in a workmanlike manner, free from defects, and in accordance with industry standards, local

building codes and the building plans, in the following ways:

       a.      it failed to assure that the seams around the firebox -- where the metal frame of
               the firebox meets the wood framing and where the burner pipe enters the firebox
               from the framed-in area -- were insulated and/or sealed with fireplace sealant.
       b.      it positioned the burner pipe so that the flame holes faced downward to the
               flooring of the hearth, rather than facing upward toward the grate, so that the
               flames emanating from the flame holes burned directly against the flooring rather
               than burning upward to the grate, as specified by the instructions of the
               manufacturer.
       c.      it failed to provide the Vogels with any instructions or warnings for future use of
               the fireplace, including the failure to caution or warn the Vogels regarding the
               size of the grate they should use in the firebox with the new gas burner pipe
               assembly.
       d.      it failed to apply for a permit to perform the work and to have the work inspected
               and approved by local officials.
       e.      it knew or should have known when it reported the project complete that the
               fireplace did not conform to standards, did not comply with codes, and was
               defective and unsafe to use.
       73.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

       WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.




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  Respectfully submitted this the 30th day of May 2013.


                                      By:     /s/ John W. Reis
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                                              Co-counsel for Plaintiffs




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                   UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION
                                  Civil Action No.
CHUBB NATIONAL INSURANCE
COMPANY and TRAVELERS PERSONAL
SECURITY INSURANCE COMPANY,

       Plaintiffs,
                                                                 COMPLAINT
DALE & MAXEY, INC. d/b/a DALE
INCORPORATED,

       Defendants.


       Plaintiffs, Chubb National Insurance Company and Travelers Personal Security Insurance

Company, by and through undersigned counsel, hereby sue defendant Dale & Maxey, Inc. d/b/a

Dale Incorporated, and allege as follows:

                                            PARTIES

       1.      Plaintiff, Chubb National Insurance Company, is and has been a corporation

organized and existing under the laws of the State of Indiana.

       2.      Plaintiff, Travelers Personal Security Insurance Company, is and has been a

corporation organized and existing under the laws of the State of Connecticut.

       3.      Defendant, Dale & Maxey, Inc. d/b/a Dale Incorporated (hereinafter “Dale”), is

and has been at all material times an active corporation organized and existing under the laws of

the State of Tennessee, with a principal place of business located at 915 6th Avenue South,

Nashville, Tennessee 37203, the registered agent for which is Albert J. Dale III, 915 6th Avenue

South, Nashville, TN 37203.




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    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 14 of 52 PageID #: 14
                                        JURISDICTION

        4.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§1332, in that there is complete diversity of citizenship between the parties, and plaintiff’s

damages are in excess of $75,000.00, as the property damage giving rise to this action exceeds

$4,000,000.

                                             VENUE

        5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1), in that the

defendant’s principal place of business is in Davidson County, Tennessee, the case involves

property situated at 17 Oxmoor Court, Brentwood, Tennessee 37027 (Williamson County),

which is also where the events or omissions giving rise to this action occurred, and the Nashville

division of the Middle District of Tennessee includes Davidson County and Williamson County.

                                             FACTS

        6.     This case involves a fire of October 21, 2011 (hereinafter “the subject fire”) to the

home of George Thomas (Tom) Vogel and Denise Vogel (hereinafter “the Vogels”) at 17

Oxmoor Court, Brentwood, TN 37027 (hereinafter “the subject home”), originating from a

fireplace on the outdoor veranda of said home.

        7.     On a date prior to October 21, 2011, Plaintiff Chubb National Insurance Company

issued a policy of insurance to the Vogels providing property insurance coverage for the subject

home.

        8.     On a date prior to October 21, 2011, Plaintiff Travelers Personal Security

Insurance Company (hereinafter “Travelers”) issued a policy of insurance to Denise Vogel

providing property insurance coverage for her 2009 Mercedez Benz (hereinafter “the subject

vehicle”).



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    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 15 of 52 PageID #: 15
        9.     The subject home was constructed in 2006.

        10.    The Vogels purchased the subject home October 15, 2010.

        11.    The subject home has several fireplaces, one of which was on the back veranda

(hereinafter “the subject fireplace”).

        12.    When the Vogels purchased the home, the subject fireplace was a gas-powered

fireplace, i.e., it was not used to burn real wood but operated using “gas logs.”

        13.    In November or December of 2010, the Vogels considered whether to convert the

subject fireplace from a gas log fireplace to a wood-burning fireplace.

        14.    In considering whether to convert the subject fireplace to a wood-burning

fireplace, the Vogels researched companies in the Nashville area with advertised or demonstrated

capabilities in the subject area and contacted Dale to come to the house and see if this could be

done.

        15.    Representatives of Dale came to the subject house in November or December

2010 and inspected the subject gas log installation and the design and construction of the subject

fireplace.

        16.    The Dale representatives advised that in order to convert the subject fireplace

from a gas log system to a wood-burning system, all that would be needed would be to remove

the artificial gas log system and replace it with a stainless steel gas burner pipe, also known as a

“gas starter” or “gas igniter,” but referred to herein as a burner pipe.

        17.    The burner pipe that Dale recommended would run along the bottom of the hearth

where the gas logs use to be and above that burner pipe would be a grate on which the owner

could place the wood for ignition.




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        18.    Dale advised that starting a fire using a burner pipe would involve no change to

starting a fire with a gas log system in that the owner would simply need to use the switch to the

side of the fireplace to release and ignite gas.

        19.    Once ignited, the burner pipe would have flames emanating from holes in the pipe

and those flames would ignite the wood sitting in the grate above it.

        20.    Upon recommendation from Dale, the Vogels hired Dale to do what was

necessary to make the conversion which the Vogels understood was to remove the gas logs and

replace the gas logs with the burner pipe and a grate to hold the wood.

        21.    The burner pipe installed by Dale ran horizontally from the right wall of the

firebox to the fireplace toward the left, when one is standing on the veranda looking at the

fireplace.

        22.    In converting the gas-log system to a wood burning system, Dale among its errors

failed to assure that the seams around the firebox -- where the metal frame of the firebox meets

the wood framing and where the burner pipe enters the firebox from the framed-in area -- were

properly sealed with fireplace sealant and failed to properly seal off the hole through which the

burner pipe passed to enter the firebox.

        23.    The Log Lighter Instructions state:

                                 LOG LIGHTER INSTALLATION
        Log lighter should be installed on the front of the grate in such a manner to
        minimize flame impingement, the amount of heat exposure and that logs placed
        on the grate will not rest directly on the log lighter tube. Also, the floor clearance
        should be sufficient to minimize the chance of the blockage of the burner ports by
        ash accumulation.
        ….
        4. The log lighter should be located such that the burner ports are facing inwards
        at 30-45 degrees, with the air shutter facing out towards the front. Adjust the air
        shutter to give sharp blue flames with yellow tips.



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    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 17 of 52 PageID #: 17
       24.     Dale failed to assure floor clearance sufficient to minimize the chance of the

blockage of the burner ports by ash accumulation.

       25.     Dale failed to locate the log lighter such that the burner ports are facing inwards at

30-45 degrees, with the air shutter facing out towards the front.

       26.     Dale positioned the burner pipe so that the flame holes were angled more

downward to the flooring of the hearth, rather than facing more upward toward the grate, so that

the flames emanating from the flame holes burned toward the flooring rather than burning

upward to the grate.

       27.     The flooring of the firebox hearth was made of metal, as this was a fireplace insert

rather than a masonry fireplace, a condition which Dale could see or should have seen for itself

when it performed the inspection and/or at the time of the installation of the burner pipe.

       28.     Dale aimed the ignitor gas flame holes downward instead of upward and thus

increased the heat level to the flooring under the firebox and thus increased the hazard of ignition

of wood surrounding the fireplace insert.

       29.     Dale failed to obtain, and/or review and/or follow the DESA instructions for the

DESA brand fireplace insert on safety precautions for the insert if it is to be wood burning

instead of gas burning.

       30.     Dale failed to assure that there was insulation around the gas line and in the sleeve

opening and failed to properly seal any gaps between gas line and refractory knockout hole with

refractory cement or commercial furnace cement.

       31.     Further, Dale also should have checked the seams around the firebox to see if they

were properly sealed and should have then properly sealed those seams to protect against heat

igniting the wood framing of the fireplace insert.



                                            Page 5 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 18 of 52 PageID #: 18
       32.     Dale also failed to provide the Vogels with any instructions or warnings for future

use of the fireplace, including the failure to caution or warn the Vogels regarding the size of the

grate they should use in the firebox with the new burner pipe assembly.

       33.     Additionally, Dale did not secure a permit for the work being performed or have

an inspection performed by the proper agency to verify the quality and conformity of their work.

       34.     On the night of the fire, Tom Vogel started a log fire in the subject fireplace at

around 7:30 or 8:00 p.m.

       35.     At around 9:30 p.m., Mr. Vogel was in his bedroom, which has a fireplace

opposite from the veranda fireplace, when the flat screen TV above his bedroom fireplace

suddenly turned off.

       36.     The two fireplaces share a common area between them in which two separate

chimney cases run upward to the roof.

       37.     The subject fireplace, which is an outdoor fireplace, had been burning wood since

7:30 or 8:00 pm that night.

       38.     When the bedroom TV turned off, Mr. Vogel walked toward the wall where the

TV was mounted to investigate.

       39.     At first, he thought the cable had gone out, but as he got closer he could see that

the TV actually shut down.

       40.     While close to the wall, he could hear what sounded like a crackling sound behind

the bedroom fireplace wall.

       41.     Mr. Vogel placed his hand on the wall and found it was warm to the touch.

       42.     Mr. Vogel went through the door to the left of the bedroom fireplace to the

veranda and checked the outdoor fireplace.



                                           Page 6 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 19 of 52 PageID #: 19
       43.     He noticed that the fire in the outdoor fireplace was low.

       44.     Mr. Vogel went back into his bedroom and could still hear crackling and feel

warmth, at which point he told his wife to call 911 and they took their children out of the house.

       45.     The fire spread rapidly through the house and, despite the best efforts of the

responding fire department, the house was severely damaged.

       46.     After the fire, a coordinated inspection of the subject home took place on

November 23, 2011, attended by undersigned counsel, John Reis, and the following: (1) Tom

Vogel, owner of Dale; (2) Tim Burgess, electrical engineer with Unified Investigations &

Sciences, Inc., , retained by      Chubb; (3) Jesse Hooten, fire investigator with Unified

Investigations & Sciences, retained by Chubb; (4) David Wright, P.E., of Wright Fire &

Forensics, retained by Chubb; (5) Jeff Morrill of Morrfire Investigations, representing Dale; (6)

Joe Wheeler, attorney for Dale; (7) Tom Carlton, attorney for Dale; (8) Patrick Murphy, fireplace

manager with Dale; (9) Jarred McNeal, National General Adjuster, Engel Martin & Associates,

Inc., retained by Builders Insurance, insurer for Williamson County Heating (which had installed

gas lights above the subject fireplace); (10) Herbert Allen Cole of Williamson County Heating;

(11) McKenzie Roberts, P.E., Engineering Consultant, Engineering Consultants & Design, Inc.,

McMinnville, TN 37110, for Williamson; (13) James A. Waller, P.E., Structural Engineer, VCE,

Inc., Nashville, TN 37202, for Williamson County Heating; (14) Charles A. Griffin of VCE, Inc.,

for Williamson County Heating; (15) Dewey N. Griffin of VCE, Investigative, Nashville, TN

37210 for Williamson County Heating; (16) Frank Thomas of Leitner Williams for Williamson

County Heating; (17) Joe Holt of Kustom Home Entertainment (which had installed cabling for

the TV in the Vogels’ bedroom); and (18) Nancy L. Jones, Fire Marshal, Brentwood Fire &

Rescue, Brentwood Fire Department, Brentwood, TN.



                                           Page 7 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 20 of 52 PageID #: 20
       47.     At the November 23, 2011 scene inspection, all parties present had an opportunity

to interview Tom Vogel and they did so at length.

       48.     On December 2, 2011, a second coordinated scene inspection occurred, attended

by undersigned counsel John Reis and Tim Burgess, Jesse Hooten, David Wright, Todd Niner of

Wright Investigations, Jeff Morrill, Dewey Griffin, McKenzie Roberts, Charles Griffin, David

Wright, Todd Niner, Karen Niner, Frank Thomas, and Nancy Jones.

       49.     At the December 2, 2011 scene inspection, the subject fireplace was removed and

has been stored off site ever since, along with any other evidence from the scene that those in

attendance desired be removed and retained.

       50.     On April 10, 2012, an off-site inspection took place whereby all evidence

removed from the scene was carefully examined and subjected to such testing as the parties

desired, attended by Jesse Hooten, David Wright, Karen Niner, Jeff Morrill, Dewey Griffin,

McKenzie Roberts, and Frank Thomas.

       51.     The results of the above inspections and examinations revealed that the cause of

the fire was ignition of wood in the framing of the subject fireplace, which had overheated due to

the failures and omissions of Dale when they converted the fireplace from a gas log system to a

wood burning system.

       52.     The fire destroyed the subject home and the subject vehicle.

       53.     As a result of the fire, the Vogels made a property insurance claim with Chubb for

the damages to the house and its contents and the loss of use thereof.

       54.     As a result of the fire, Denise Vogel made a property insurance claim with

Traveler for the damages to the subject vehicle and its loss of use.




                                           Page 8 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 21 of 52 PageID #: 21
        55.     Chubb paid the Vogels claim for the damages to the house, contents, and loss of

use of the home in the total amount of $4,956,965.36 and the Vogels incurred no deductible.

        56.     Travelers paid Denise Vogel $42,331.31 and received back salvage value of

$10,828.51, for a total claim of $31,502.49 for the damages to the subject vehicle in that amount;

Denise Vogel incurred a $250.00 deductible.

        57.     Having paid the Vogels for the above damages pursuant to the policy of

insurance, Chubb is subrogated to its insureds’ right to bring this action against those responsible

for the damages and proceeds with this action on the basis of the doctrine of conventional

subrogation.

        58.     Having paid Denise Vogel for the above damages pursuant to the policy of

insurance, Travelers is subrogated to its insured’s right to bring this action against those

responsible for the damages and proceeds with this action on the basis of the doctrine of

conventional subrogation.

                                          COUNT I
                                     BREACH OF CONTRACT
        59.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        60.     Dale and the Vogels exchanged offers until they entered into a valid and

enforceable oral and/or implied-in-fact contract pursuant to which Dale would use it professional

knowledge and skills to convert the subject fireplace from a gas log system to a wood burning

system.

        61.     Having contracted to perform the work described above, Defendant had an

implicit duty to perform in accordance with applicable codes, procedures, and industry standards,




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in a workmanlike manner, and/or in compliance with the terms of the contract and was fully

responsible for defective materials and/or workmanship it provided.

        62.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        63.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                           COUNT II
                                         NEGLIGENCE

        64.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        65.     Dale after being given an opportunity to inspect undertook for an agreed fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.

        66.     Having undertaken to perform the work described above, Defendant had an

implicit duty to perform said work in accordance with applicable codes, procedures, and industry

                                           Page 10 of 13

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standards and in a workmanlike manner and was responsible for defective materials and/or

workmanship it provided.

        67.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        68.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                  COUNT III
             BREACH OF IMPLIED WARRANTY OF WORKMANLIKE SERVICE

        69.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        70.     Dale represented itself as knowledgeable, experienced and capable of undertaking

to inspect and evaluate the fireplace conversion project and thereafter undertook for a fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.



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       71.     Having undertaken to perform the work described above, Dale impliedly

warranted that it would perform in a workmanlike manner and exercise reasonable care in

converting the fireplace system, such that the system would be free from defects and would be fit

for its intended purposes and in accordance with local building codes, building plans and

industry standards.

       72.     The defendant breached this warranty by failing to convert the fireplace system

in a workmanlike manner, free from defects, and in accordance with industry standards, local

building codes and the building plans, in the following ways:

       a.      it failed to assure that the seams around the firebox -- where the metal frame of
               the firebox meets the wood framing and where the burner pipe enters the firebox
               from the framed-in area -- were insulated and/or sealed with fireplace sealant.
       b.      it positioned the burner pipe so that the flame holes faced downward to the
               flooring of the hearth, rather than facing upward toward the grate, so that the
               flames emanating from the flame holes burned directly against the flooring rather
               than burning upward to the grate, as specified by the instructions of the
               manufacturer.
       c.      it failed to provide the Vogels with any instructions or warnings for future use of
               the fireplace, including the failure to caution or warn the Vogels regarding the
               size of the grate they should use in the firebox with the new gas burner pipe
               assembly.
       d.      it failed to apply for a permit to perform the work and to have the work inspected
               and approved by local officials.
       e.      it knew or should have known when it reported the project complete that the
               fireplace did not conform to standards, did not comply with codes, and was
               defective and unsafe to use.
       73.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

       WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.




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  Respectfully submitted this the 30th day of May 2013.


                                      By:     /s/ John W. Reis
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                                              Co-counsel for Plaintiffs




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                   UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION
                                  Civil Action No.
CHUBB NATIONAL INSURANCE
COMPANY and TRAVELERS PERSONAL
SECURITY INSURANCE COMPANY,

       Plaintiffs,
                                                                 COMPLAINT
DALE & MAXEY, INC. d/b/a DALE
INCORPORATED,

       Defendants.


       Plaintiffs, Chubb National Insurance Company and Travelers Personal Security Insurance

Company, by and through undersigned counsel, hereby sue defendant Dale & Maxey, Inc. d/b/a

Dale Incorporated, and allege as follows:

                                            PARTIES

       1.      Plaintiff, Chubb National Insurance Company, is and has been a corporation

organized and existing under the laws of the State of Indiana.

       2.      Plaintiff, Travelers Personal Security Insurance Company, is and has been a

corporation organized and existing under the laws of the State of Connecticut.

       3.      Defendant, Dale & Maxey, Inc. d/b/a Dale Incorporated (hereinafter “Dale”), is

and has been at all material times an active corporation organized and existing under the laws of

the State of Tennessee, with a principal place of business located at 915 6th Avenue South,

Nashville, Tennessee 37203, the registered agent for which is Albert J. Dale III, 915 6th Avenue

South, Nashville, TN 37203.




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                                        JURISDICTION

        4.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§1332, in that there is complete diversity of citizenship between the parties, and plaintiff’s

damages are in excess of $75,000.00, as the property damage giving rise to this action exceeds

$4,000,000.

                                             VENUE

        5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1), in that the

defendant’s principal place of business is in Davidson County, Tennessee, the case involves

property situated at 17 Oxmoor Court, Brentwood, Tennessee 37027 (Williamson County),

which is also where the events or omissions giving rise to this action occurred, and the Nashville

division of the Middle District of Tennessee includes Davidson County and Williamson County.

                                             FACTS

        6.     This case involves a fire of October 21, 2011 (hereinafter “the subject fire”) to the

home of George Thomas (Tom) Vogel and Denise Vogel (hereinafter “the Vogels”) at 17

Oxmoor Court, Brentwood, TN 37027 (hereinafter “the subject home”), originating from a

fireplace on the outdoor veranda of said home.

        7.     On a date prior to October 21, 2011, Plaintiff Chubb National Insurance Company

issued a policy of insurance to the Vogels providing property insurance coverage for the subject

home.

        8.     On a date prior to October 21, 2011, Plaintiff Travelers Personal Security

Insurance Company (hereinafter “Travelers”) issued a policy of insurance to Denise Vogel

providing property insurance coverage for her 2009 Mercedez Benz (hereinafter “the subject

vehicle”).



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        9.     The subject home was constructed in 2006.

        10.    The Vogels purchased the subject home October 15, 2010.

        11.    The subject home has several fireplaces, one of which was on the back veranda

(hereinafter “the subject fireplace”).

        12.    When the Vogels purchased the home, the subject fireplace was a gas-powered

fireplace, i.e., it was not used to burn real wood but operated using “gas logs.”

        13.    In November or December of 2010, the Vogels considered whether to convert the

subject fireplace from a gas log fireplace to a wood-burning fireplace.

        14.    In considering whether to convert the subject fireplace to a wood-burning

fireplace, the Vogels researched companies in the Nashville area with advertised or demonstrated

capabilities in the subject area and contacted Dale to come to the house and see if this could be

done.

        15.    Representatives of Dale came to the subject house in November or December

2010 and inspected the subject gas log installation and the design and construction of the subject

fireplace.

        16.    The Dale representatives advised that in order to convert the subject fireplace

from a gas log system to a wood-burning system, all that would be needed would be to remove

the artificial gas log system and replace it with a stainless steel gas burner pipe, also known as a

“gas starter” or “gas igniter,” but referred to herein as a burner pipe.

        17.    The burner pipe that Dale recommended would run along the bottom of the hearth

where the gas logs use to be and above that burner pipe would be a grate on which the owner

could place the wood for ignition.




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        18.    Dale advised that starting a fire using a burner pipe would involve no change to

starting a fire with a gas log system in that the owner would simply need to use the switch to the

side of the fireplace to release and ignite gas.

        19.    Once ignited, the burner pipe would have flames emanating from holes in the pipe

and those flames would ignite the wood sitting in the grate above it.

        20.    Upon recommendation from Dale, the Vogels hired Dale to do what was

necessary to make the conversion which the Vogels understood was to remove the gas logs and

replace the gas logs with the burner pipe and a grate to hold the wood.

        21.    The burner pipe installed by Dale ran horizontally from the right wall of the

firebox to the fireplace toward the left, when one is standing on the veranda looking at the

fireplace.

        22.    In converting the gas-log system to a wood burning system, Dale among its errors

failed to assure that the seams around the firebox -- where the metal frame of the firebox meets

the wood framing and where the burner pipe enters the firebox from the framed-in area -- were

properly sealed with fireplace sealant and failed to properly seal off the hole through which the

burner pipe passed to enter the firebox.

        23.    The Log Lighter Instructions state:

                                 LOG LIGHTER INSTALLATION
        Log lighter should be installed on the front of the grate in such a manner to
        minimize flame impingement, the amount of heat exposure and that logs placed
        on the grate will not rest directly on the log lighter tube. Also, the floor clearance
        should be sufficient to minimize the chance of the blockage of the burner ports by
        ash accumulation.
        ….
        4. The log lighter should be located such that the burner ports are facing inwards
        at 30-45 degrees, with the air shutter facing out towards the front. Adjust the air
        shutter to give sharp blue flames with yellow tips.



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       24.     Dale failed to assure floor clearance sufficient to minimize the chance of the

blockage of the burner ports by ash accumulation.

       25.     Dale failed to locate the log lighter such that the burner ports are facing inwards at

30-45 degrees, with the air shutter facing out towards the front.

       26.     Dale positioned the burner pipe so that the flame holes were angled more

downward to the flooring of the hearth, rather than facing more upward toward the grate, so that

the flames emanating from the flame holes burned toward the flooring rather than burning

upward to the grate.

       27.     The flooring of the firebox hearth was made of metal, as this was a fireplace insert

rather than a masonry fireplace, a condition which Dale could see or should have seen for itself

when it performed the inspection and/or at the time of the installation of the burner pipe.

       28.     Dale aimed the ignitor gas flame holes downward instead of upward and thus

increased the heat level to the flooring under the firebox and thus increased the hazard of ignition

of wood surrounding the fireplace insert.

       29.     Dale failed to obtain, and/or review and/or follow the DESA instructions for the

DESA brand fireplace insert on safety precautions for the insert if it is to be wood burning

instead of gas burning.

       30.     Dale failed to assure that there was insulation around the gas line and in the sleeve

opening and failed to properly seal any gaps between gas line and refractory knockout hole with

refractory cement or commercial furnace cement.

       31.     Further, Dale also should have checked the seams around the firebox to see if they

were properly sealed and should have then properly sealed those seams to protect against heat

igniting the wood framing of the fireplace insert.



                                            Page 5 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 31 of 52 PageID #: 31
       32.     Dale also failed to provide the Vogels with any instructions or warnings for future

use of the fireplace, including the failure to caution or warn the Vogels regarding the size of the

grate they should use in the firebox with the new burner pipe assembly.

       33.     Additionally, Dale did not secure a permit for the work being performed or have

an inspection performed by the proper agency to verify the quality and conformity of their work.

       34.     On the night of the fire, Tom Vogel started a log fire in the subject fireplace at

around 7:30 or 8:00 p.m.

       35.     At around 9:30 p.m., Mr. Vogel was in his bedroom, which has a fireplace

opposite from the veranda fireplace, when the flat screen TV above his bedroom fireplace

suddenly turned off.

       36.     The two fireplaces share a common area between them in which two separate

chimney cases run upward to the roof.

       37.     The subject fireplace, which is an outdoor fireplace, had been burning wood since

7:30 or 8:00 pm that night.

       38.     When the bedroom TV turned off, Mr. Vogel walked toward the wall where the

TV was mounted to investigate.

       39.     At first, he thought the cable had gone out, but as he got closer he could see that

the TV actually shut down.

       40.     While close to the wall, he could hear what sounded like a crackling sound behind

the bedroom fireplace wall.

       41.     Mr. Vogel placed his hand on the wall and found it was warm to the touch.

       42.     Mr. Vogel went through the door to the left of the bedroom fireplace to the

veranda and checked the outdoor fireplace.



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    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 32 of 52 PageID #: 32
       43.     He noticed that the fire in the outdoor fireplace was low.

       44.     Mr. Vogel went back into his bedroom and could still hear crackling and feel

warmth, at which point he told his wife to call 911 and they took their children out of the house.

       45.     The fire spread rapidly through the house and, despite the best efforts of the

responding fire department, the house was severely damaged.

       46.     After the fire, a coordinated inspection of the subject home took place on

November 23, 2011, attended by undersigned counsel, John Reis, and the following: (1) Tom

Vogel, owner of Dale; (2) Tim Burgess, electrical engineer with Unified Investigations &

Sciences, Inc., , retained by      Chubb; (3) Jesse Hooten, fire investigator with Unified

Investigations & Sciences, retained by Chubb; (4) David Wright, P.E., of Wright Fire &

Forensics, retained by Chubb; (5) Jeff Morrill of Morrfire Investigations, representing Dale; (6)

Joe Wheeler, attorney for Dale; (7) Tom Carlton, attorney for Dale; (8) Patrick Murphy, fireplace

manager with Dale; (9) Jarred McNeal, National General Adjuster, Engel Martin & Associates,

Inc., retained by Builders Insurance, insurer for Williamson County Heating (which had installed

gas lights above the subject fireplace); (10) Herbert Allen Cole of Williamson County Heating;

(11) McKenzie Roberts, P.E., Engineering Consultant, Engineering Consultants & Design, Inc.,

McMinnville, TN 37110, for Williamson; (13) James A. Waller, P.E., Structural Engineer, VCE,

Inc., Nashville, TN 37202, for Williamson County Heating; (14) Charles A. Griffin of VCE, Inc.,

for Williamson County Heating; (15) Dewey N. Griffin of VCE, Investigative, Nashville, TN

37210 for Williamson County Heating; (16) Frank Thomas of Leitner Williams for Williamson

County Heating; (17) Joe Holt of Kustom Home Entertainment (which had installed cabling for

the TV in the Vogels’ bedroom); and (18) Nancy L. Jones, Fire Marshal, Brentwood Fire &

Rescue, Brentwood Fire Department, Brentwood, TN.



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    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 33 of 52 PageID #: 33
       47.     At the November 23, 2011 scene inspection, all parties present had an opportunity

to interview Tom Vogel and they did so at length.

       48.     On December 2, 2011, a second coordinated scene inspection occurred, attended

by undersigned counsel John Reis and Tim Burgess, Jesse Hooten, David Wright, Todd Niner of

Wright Investigations, Jeff Morrill, Dewey Griffin, McKenzie Roberts, Charles Griffin, David

Wright, Todd Niner, Karen Niner, Frank Thomas, and Nancy Jones.

       49.     At the December 2, 2011 scene inspection, the subject fireplace was removed and

has been stored off site ever since, along with any other evidence from the scene that those in

attendance desired be removed and retained.

       50.     On April 10, 2012, an off-site inspection took place whereby all evidence

removed from the scene was carefully examined and subjected to such testing as the parties

desired, attended by Jesse Hooten, David Wright, Karen Niner, Jeff Morrill, Dewey Griffin,

McKenzie Roberts, and Frank Thomas.

       51.     The results of the above inspections and examinations revealed that the cause of

the fire was ignition of wood in the framing of the subject fireplace, which had overheated due to

the failures and omissions of Dale when they converted the fireplace from a gas log system to a

wood burning system.

       52.     The fire destroyed the subject home and the subject vehicle.

       53.     As a result of the fire, the Vogels made a property insurance claim with Chubb for

the damages to the house and its contents and the loss of use thereof.

       54.     As a result of the fire, Denise Vogel made a property insurance claim with

Traveler for the damages to the subject vehicle and its loss of use.




                                           Page 8 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 34 of 52 PageID #: 34
        55.     Chubb paid the Vogels claim for the damages to the house, contents, and loss of

use of the home in the total amount of $4,956,965.36 and the Vogels incurred no deductible.

        56.     Travelers paid Denise Vogel $42,331.31 and received back salvage value of

$10,828.51, for a total claim of $31,502.49 for the damages to the subject vehicle in that amount;

Denise Vogel incurred a $250.00 deductible.

        57.     Having paid the Vogels for the above damages pursuant to the policy of

insurance, Chubb is subrogated to its insureds’ right to bring this action against those responsible

for the damages and proceeds with this action on the basis of the doctrine of conventional

subrogation.

        58.     Having paid Denise Vogel for the above damages pursuant to the policy of

insurance, Travelers is subrogated to its insured’s right to bring this action against those

responsible for the damages and proceeds with this action on the basis of the doctrine of

conventional subrogation.

                                          COUNT I
                                     BREACH OF CONTRACT
        59.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        60.     Dale and the Vogels exchanged offers until they entered into a valid and

enforceable oral and/or implied-in-fact contract pursuant to which Dale would use it professional

knowledge and skills to convert the subject fireplace from a gas log system to a wood burning

system.

        61.     Having contracted to perform the work described above, Defendant had an

implicit duty to perform in accordance with applicable codes, procedures, and industry standards,




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in a workmanlike manner, and/or in compliance with the terms of the contract and was fully

responsible for defective materials and/or workmanship it provided.

        62.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        63.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                           COUNT II
                                         NEGLIGENCE

        64.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        65.     Dale after being given an opportunity to inspect undertook for an agreed fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.

        66.     Having undertaken to perform the work described above, Defendant had an

implicit duty to perform said work in accordance with applicable codes, procedures, and industry

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standards and in a workmanlike manner and was responsible for defective materials and/or

workmanship it provided.

        67.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        68.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                  COUNT III
             BREACH OF IMPLIED WARRANTY OF WORKMANLIKE SERVICE

        69.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        70.     Dale represented itself as knowledgeable, experienced and capable of undertaking

to inspect and evaluate the fireplace conversion project and thereafter undertook for a fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.



                                          Page 11 of 13

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       71.     Having undertaken to perform the work described above, Dale impliedly

warranted that it would perform in a workmanlike manner and exercise reasonable care in

converting the fireplace system, such that the system would be free from defects and would be fit

for its intended purposes and in accordance with local building codes, building plans and

industry standards.

       72.     The defendant breached this warranty by failing to convert the fireplace system

in a workmanlike manner, free from defects, and in accordance with industry standards, local

building codes and the building plans, in the following ways:

       a.      it failed to assure that the seams around the firebox -- where the metal frame of
               the firebox meets the wood framing and where the burner pipe enters the firebox
               from the framed-in area -- were insulated and/or sealed with fireplace sealant.
       b.      it positioned the burner pipe so that the flame holes faced downward to the
               flooring of the hearth, rather than facing upward toward the grate, so that the
               flames emanating from the flame holes burned directly against the flooring rather
               than burning upward to the grate, as specified by the instructions of the
               manufacturer.
       c.      it failed to provide the Vogels with any instructions or warnings for future use of
               the fireplace, including the failure to caution or warn the Vogels regarding the
               size of the grate they should use in the firebox with the new gas burner pipe
               assembly.
       d.      it failed to apply for a permit to perform the work and to have the work inspected
               and approved by local officials.
       e.      it knew or should have known when it reported the project complete that the
               fireplace did not conform to standards, did not comply with codes, and was
               defective and unsafe to use.
       73.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

       WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.




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  Respectfully submitted this the 30th day of May 2013.


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                   UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION
                                  Civil Action No.
CHUBB NATIONAL INSURANCE
COMPANY and TRAVELERS PERSONAL
SECURITY INSURANCE COMPANY,

       Plaintiffs,
                                                                 COMPLAINT
DALE & MAXEY, INC. d/b/a DALE
INCORPORATED,

       Defendants.


       Plaintiffs, Chubb National Insurance Company and Travelers Personal Security Insurance

Company, by and through undersigned counsel, hereby sue defendant Dale & Maxey, Inc. d/b/a

Dale Incorporated, and allege as follows:

                                            PARTIES

       1.      Plaintiff, Chubb National Insurance Company, is and has been a corporation

organized and existing under the laws of the State of Indiana.

       2.      Plaintiff, Travelers Personal Security Insurance Company, is and has been a

corporation organized and existing under the laws of the State of Connecticut.

       3.      Defendant, Dale & Maxey, Inc. d/b/a Dale Incorporated (hereinafter “Dale”), is

and has been at all material times an active corporation organized and existing under the laws of

the State of Tennessee, with a principal place of business located at 915 6th Avenue South,

Nashville, Tennessee 37203, the registered agent for which is Albert J. Dale III, 915 6th Avenue

South, Nashville, TN 37203.




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                                        JURISDICTION

        4.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§1332, in that there is complete diversity of citizenship between the parties, and plaintiff’s

damages are in excess of $75,000.00, as the property damage giving rise to this action exceeds

$4,000,000.

                                             VENUE

        5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1), in that the

defendant’s principal place of business is in Davidson County, Tennessee, the case involves

property situated at 17 Oxmoor Court, Brentwood, Tennessee 37027 (Williamson County),

which is also where the events or omissions giving rise to this action occurred, and the Nashville

division of the Middle District of Tennessee includes Davidson County and Williamson County.

                                             FACTS

        6.     This case involves a fire of October 21, 2011 (hereinafter “the subject fire”) to the

home of George Thomas (Tom) Vogel and Denise Vogel (hereinafter “the Vogels”) at 17

Oxmoor Court, Brentwood, TN 37027 (hereinafter “the subject home”), originating from a

fireplace on the outdoor veranda of said home.

        7.     On a date prior to October 21, 2011, Plaintiff Chubb National Insurance Company

issued a policy of insurance to the Vogels providing property insurance coverage for the subject

home.

        8.     On a date prior to October 21, 2011, Plaintiff Travelers Personal Security

Insurance Company (hereinafter “Travelers”) issued a policy of insurance to Denise Vogel

providing property insurance coverage for her 2009 Mercedez Benz (hereinafter “the subject

vehicle”).



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        9.     The subject home was constructed in 2006.

        10.    The Vogels purchased the subject home October 15, 2010.

        11.    The subject home has several fireplaces, one of which was on the back veranda

(hereinafter “the subject fireplace”).

        12.    When the Vogels purchased the home, the subject fireplace was a gas-powered

fireplace, i.e., it was not used to burn real wood but operated using “gas logs.”

        13.    In November or December of 2010, the Vogels considered whether to convert the

subject fireplace from a gas log fireplace to a wood-burning fireplace.

        14.    In considering whether to convert the subject fireplace to a wood-burning

fireplace, the Vogels researched companies in the Nashville area with advertised or demonstrated

capabilities in the subject area and contacted Dale to come to the house and see if this could be

done.

        15.    Representatives of Dale came to the subject house in November or December

2010 and inspected the subject gas log installation and the design and construction of the subject

fireplace.

        16.    The Dale representatives advised that in order to convert the subject fireplace

from a gas log system to a wood-burning system, all that would be needed would be to remove

the artificial gas log system and replace it with a stainless steel gas burner pipe, also known as a

“gas starter” or “gas igniter,” but referred to herein as a burner pipe.

        17.    The burner pipe that Dale recommended would run along the bottom of the hearth

where the gas logs use to be and above that burner pipe would be a grate on which the owner

could place the wood for ignition.




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        18.    Dale advised that starting a fire using a burner pipe would involve no change to

starting a fire with a gas log system in that the owner would simply need to use the switch to the

side of the fireplace to release and ignite gas.

        19.    Once ignited, the burner pipe would have flames emanating from holes in the pipe

and those flames would ignite the wood sitting in the grate above it.

        20.    Upon recommendation from Dale, the Vogels hired Dale to do what was

necessary to make the conversion which the Vogels understood was to remove the gas logs and

replace the gas logs with the burner pipe and a grate to hold the wood.

        21.    The burner pipe installed by Dale ran horizontally from the right wall of the

firebox to the fireplace toward the left, when one is standing on the veranda looking at the

fireplace.

        22.    In converting the gas-log system to a wood burning system, Dale among its errors

failed to assure that the seams around the firebox -- where the metal frame of the firebox meets

the wood framing and where the burner pipe enters the firebox from the framed-in area -- were

properly sealed with fireplace sealant and failed to properly seal off the hole through which the

burner pipe passed to enter the firebox.

        23.    The Log Lighter Instructions state:

                                 LOG LIGHTER INSTALLATION
        Log lighter should be installed on the front of the grate in such a manner to
        minimize flame impingement, the amount of heat exposure and that logs placed
        on the grate will not rest directly on the log lighter tube. Also, the floor clearance
        should be sufficient to minimize the chance of the blockage of the burner ports by
        ash accumulation.
        ….
        4. The log lighter should be located such that the burner ports are facing inwards
        at 30-45 degrees, with the air shutter facing out towards the front. Adjust the air
        shutter to give sharp blue flames with yellow tips.



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       24.     Dale failed to assure floor clearance sufficient to minimize the chance of the

blockage of the burner ports by ash accumulation.

       25.     Dale failed to locate the log lighter such that the burner ports are facing inwards at

30-45 degrees, with the air shutter facing out towards the front.

       26.     Dale positioned the burner pipe so that the flame holes were angled more

downward to the flooring of the hearth, rather than facing more upward toward the grate, so that

the flames emanating from the flame holes burned toward the flooring rather than burning

upward to the grate.

       27.     The flooring of the firebox hearth was made of metal, as this was a fireplace insert

rather than a masonry fireplace, a condition which Dale could see or should have seen for itself

when it performed the inspection and/or at the time of the installation of the burner pipe.

       28.     Dale aimed the ignitor gas flame holes downward instead of upward and thus

increased the heat level to the flooring under the firebox and thus increased the hazard of ignition

of wood surrounding the fireplace insert.

       29.     Dale failed to obtain, and/or review and/or follow the DESA instructions for the

DESA brand fireplace insert on safety precautions for the insert if it is to be wood burning

instead of gas burning.

       30.     Dale failed to assure that there was insulation around the gas line and in the sleeve

opening and failed to properly seal any gaps between gas line and refractory knockout hole with

refractory cement or commercial furnace cement.

       31.     Further, Dale also should have checked the seams around the firebox to see if they

were properly sealed and should have then properly sealed those seams to protect against heat

igniting the wood framing of the fireplace insert.



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       32.     Dale also failed to provide the Vogels with any instructions or warnings for future

use of the fireplace, including the failure to caution or warn the Vogels regarding the size of the

grate they should use in the firebox with the new burner pipe assembly.

       33.     Additionally, Dale did not secure a permit for the work being performed or have

an inspection performed by the proper agency to verify the quality and conformity of their work.

       34.     On the night of the fire, Tom Vogel started a log fire in the subject fireplace at

around 7:30 or 8:00 p.m.

       35.     At around 9:30 p.m., Mr. Vogel was in his bedroom, which has a fireplace

opposite from the veranda fireplace, when the flat screen TV above his bedroom fireplace

suddenly turned off.

       36.     The two fireplaces share a common area between them in which two separate

chimney cases run upward to the roof.

       37.     The subject fireplace, which is an outdoor fireplace, had been burning wood since

7:30 or 8:00 pm that night.

       38.     When the bedroom TV turned off, Mr. Vogel walked toward the wall where the

TV was mounted to investigate.

       39.     At first, he thought the cable had gone out, but as he got closer he could see that

the TV actually shut down.

       40.     While close to the wall, he could hear what sounded like a crackling sound behind

the bedroom fireplace wall.

       41.     Mr. Vogel placed his hand on the wall and found it was warm to the touch.

       42.     Mr. Vogel went through the door to the left of the bedroom fireplace to the

veranda and checked the outdoor fireplace.



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       43.     He noticed that the fire in the outdoor fireplace was low.

       44.     Mr. Vogel went back into his bedroom and could still hear crackling and feel

warmth, at which point he told his wife to call 911 and they took their children out of the house.

       45.     The fire spread rapidly through the house and, despite the best efforts of the

responding fire department, the house was severely damaged.

       46.     After the fire, a coordinated inspection of the subject home took place on

November 23, 2011, attended by undersigned counsel, John Reis, and the following: (1) Tom

Vogel, owner of Dale; (2) Tim Burgess, electrical engineer with Unified Investigations &

Sciences, Inc., , retained by      Chubb; (3) Jesse Hooten, fire investigator with Unified

Investigations & Sciences, retained by Chubb; (4) David Wright, P.E., of Wright Fire &

Forensics, retained by Chubb; (5) Jeff Morrill of Morrfire Investigations, representing Dale; (6)

Joe Wheeler, attorney for Dale; (7) Tom Carlton, attorney for Dale; (8) Patrick Murphy, fireplace

manager with Dale; (9) Jarred McNeal, National General Adjuster, Engel Martin & Associates,

Inc., retained by Builders Insurance, insurer for Williamson County Heating (which had installed

gas lights above the subject fireplace); (10) Herbert Allen Cole of Williamson County Heating;

(11) McKenzie Roberts, P.E., Engineering Consultant, Engineering Consultants & Design, Inc.,

McMinnville, TN 37110, for Williamson; (13) James A. Waller, P.E., Structural Engineer, VCE,

Inc., Nashville, TN 37202, for Williamson County Heating; (14) Charles A. Griffin of VCE, Inc.,

for Williamson County Heating; (15) Dewey N. Griffin of VCE, Investigative, Nashville, TN

37210 for Williamson County Heating; (16) Frank Thomas of Leitner Williams for Williamson

County Heating; (17) Joe Holt of Kustom Home Entertainment (which had installed cabling for

the TV in the Vogels’ bedroom); and (18) Nancy L. Jones, Fire Marshal, Brentwood Fire &

Rescue, Brentwood Fire Department, Brentwood, TN.



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       47.     At the November 23, 2011 scene inspection, all parties present had an opportunity

to interview Tom Vogel and they did so at length.

       48.     On December 2, 2011, a second coordinated scene inspection occurred, attended

by undersigned counsel John Reis and Tim Burgess, Jesse Hooten, David Wright, Todd Niner of

Wright Investigations, Jeff Morrill, Dewey Griffin, McKenzie Roberts, Charles Griffin, David

Wright, Todd Niner, Karen Niner, Frank Thomas, and Nancy Jones.

       49.     At the December 2, 2011 scene inspection, the subject fireplace was removed and

has been stored off site ever since, along with any other evidence from the scene that those in

attendance desired be removed and retained.

       50.     On April 10, 2012, an off-site inspection took place whereby all evidence

removed from the scene was carefully examined and subjected to such testing as the parties

desired, attended by Jesse Hooten, David Wright, Karen Niner, Jeff Morrill, Dewey Griffin,

McKenzie Roberts, and Frank Thomas.

       51.     The results of the above inspections and examinations revealed that the cause of

the fire was ignition of wood in the framing of the subject fireplace, which had overheated due to

the failures and omissions of Dale when they converted the fireplace from a gas log system to a

wood burning system.

       52.     The fire destroyed the subject home and the subject vehicle.

       53.     As a result of the fire, the Vogels made a property insurance claim with Chubb for

the damages to the house and its contents and the loss of use thereof.

       54.     As a result of the fire, Denise Vogel made a property insurance claim with

Traveler for the damages to the subject vehicle and its loss of use.




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        55.     Chubb paid the Vogels claim for the damages to the house, contents, and loss of

use of the home in the total amount of $4,956,965.36 and the Vogels incurred no deductible.

        56.     Travelers paid Denise Vogel $42,331.31 and received back salvage value of

$10,828.51, for a total claim of $31,502.49 for the damages to the subject vehicle in that amount;

Denise Vogel incurred a $250.00 deductible.

        57.     Having paid the Vogels for the above damages pursuant to the policy of

insurance, Chubb is subrogated to its insureds’ right to bring this action against those responsible

for the damages and proceeds with this action on the basis of the doctrine of conventional

subrogation.

        58.     Having paid Denise Vogel for the above damages pursuant to the policy of

insurance, Travelers is subrogated to its insured’s right to bring this action against those

responsible for the damages and proceeds with this action on the basis of the doctrine of

conventional subrogation.

                                          COUNT I
                                     BREACH OF CONTRACT
        59.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        60.     Dale and the Vogels exchanged offers until they entered into a valid and

enforceable oral and/or implied-in-fact contract pursuant to which Dale would use it professional

knowledge and skills to convert the subject fireplace from a gas log system to a wood burning

system.

        61.     Having contracted to perform the work described above, Defendant had an

implicit duty to perform in accordance with applicable codes, procedures, and industry standards,




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in a workmanlike manner, and/or in compliance with the terms of the contract and was fully

responsible for defective materials and/or workmanship it provided.

        62.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        63.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                           COUNT II
                                         NEGLIGENCE

        64.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        65.     Dale after being given an opportunity to inspect undertook for an agreed fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.

        66.     Having undertaken to perform the work described above, Defendant had an

implicit duty to perform said work in accordance with applicable codes, procedures, and industry

                                           Page 10 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 49 of 52 PageID #: 49
standards and in a workmanlike manner and was responsible for defective materials and/or

workmanship it provided.

        67.     Defendant breached that standard of care in the following ways:

        a.      it failed to assure that the seams around the firebox -- where the metal frame of
                the firebox meets the wood framing and where the burner pipe enters the firebox
                from the framed-in area -- were sealed with fireplace sealant.
        b.      it positioned the burner pipe so that the flame holes faced downward to the
                flooring of the hearth, rather than facing upward toward the grate, so that the
                flames emanating from the flame holes burned directly against the flooring rather
                than burning upward to the grate.
        c.      it failed to provide the Vogels with any instructions or warnings for future use of
                the fireplace, including the failure to caution or warn the Vogels regarding the
                size of the grate they should use in the firebox with the new gas burner pipe
                assembly.
        d.      it failed to apply for a permit to perform the work and to have the work inspected
                and approved by local officials.
        68.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

        WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.

                                  COUNT III
             BREACH OF IMPLIED WARRANTY OF WORKMANLIKE SERVICE

        69.     Plaintiffs hereby incorporate and re-aver by reference the allegations preceding

Count I as if fully stated herein.

        70.     Dale represented itself as knowledgeable, experienced and capable of undertaking

to inspect and evaluate the fireplace conversion project and thereafter undertook for a fee to

convert the subject fireplace from a gas log system to a wood burning system for the use and

benefit of the Vogels.



                                          Page 11 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 50 of 52 PageID #: 50
       71.     Having undertaken to perform the work described above, Dale impliedly

warranted that it would perform in a workmanlike manner and exercise reasonable care in

converting the fireplace system, such that the system would be free from defects and would be fit

for its intended purposes and in accordance with local building codes, building plans and

industry standards.

       72.     The defendant breached this warranty by failing to convert the fireplace system

in a workmanlike manner, free from defects, and in accordance with industry standards, local

building codes and the building plans, in the following ways:

       a.      it failed to assure that the seams around the firebox -- where the metal frame of
               the firebox meets the wood framing and where the burner pipe enters the firebox
               from the framed-in area -- were insulated and/or sealed with fireplace sealant.
       b.      it positioned the burner pipe so that the flame holes faced downward to the
               flooring of the hearth, rather than facing upward toward the grate, so that the
               flames emanating from the flame holes burned directly against the flooring rather
               than burning upward to the grate, as specified by the instructions of the
               manufacturer.
       c.      it failed to provide the Vogels with any instructions or warnings for future use of
               the fireplace, including the failure to caution or warn the Vogels regarding the
               size of the grate they should use in the firebox with the new gas burner pipe
               assembly.
       d.      it failed to apply for a permit to perform the work and to have the work inspected
               and approved by local officials.
       e.      it knew or should have known when it reported the project complete that the
               fireplace did not conform to standards, did not comply with codes, and was
               defective and unsafe to use.
       73.     The subject fire and resulting damages were a direct and proximate result of the

above alleged failures, errors, and omissions of Dale.

       WHEREFORE, Plaintiffs respectfully request the entry of a judgment against this

Defendant for the damages sustained, plus prejudgment interest, costs, and fees as may be

properly awarded by the Court.




                                          Page 12 of 13

    Case 3:13-cv-00528 Document 1 Filed 05/31/13 Page 51 of 52 PageID #: 51
  Respectfully submitted this the 30th day of May 2013.


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